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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
                                              §
VS.                                           §    CRIMINAL NO. H-09-29-9
                                              §
                                              §
                                              §
WILLIAM JOSEPH STONE JR.                      §


                                         ORDER

       Defendant Stone filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 487). The motion for continuance is GRANTED. The sentencing hearing

is reset to June 29, 2011, at 9:30 a.m. Objections to the presentence report are to be filed by

June 14, 2011.

              SIGNED on May 9, 2011, at Houston, Texas.

                                             ______________________________________
                                                        Lee H. Rosenthal
                                                   United States District Judge
